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                         UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA

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                                          )
11   WAL-MART STORES, INC., a Delaware    )                CIV F 04-5278 OWW DLB
     corporation and WAL-MART REAL        )
12   ESTATE BUSINESS TRUST,a Delaware     )                ORDER AFTER IN CAMERA REVIEW
     statutory trust                      )
13                   Plaintiffs,          )
                                          )
14         v.                             )
                                          )
15                                        )
     CITY OF TURLOCK, et. al.,            )
16                                        )
                 Defendants.              )
17                                        )
     ____________________________________ )
18

19          On May 20, 2005, Plaintiff WAL-MART STORES, INC., a Delaware corporation and

20   WAL-MART REAL ESTATE BUSINESS TRUST, a Delaware statutory trust (“Wal-Mart”)

21   and non-party SAFEWAY, Inc. (“Safeway”), stipulated to transfer Wal-Mart’s motion to

22   compel Safeway’s compliance with deposition subpoena duces tecum to this Court from the

23   Northern District of California. On July 25, 2005, the Court granted the motion to compel in

24   part and ordered Safeway to submit the documents withheld as attorney client privileged or

25   attorney work product for in camera review within 10 days. On August 8, 2005, Safeway

26   submitted three (3) e-mails identified on its privilege log and one (1) additional e-mail Safeway

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 1   learned of after the filing of its opposition:

 2             (1)    September 24, 2005 e-mail from David Bowlby to Mark Wolfe;

 3             (2)    September 30, 2003/October 1, 2003 e-mail from David Bowlby to M ark Wolfe

 4                    and response;

 5             (3)    December 2, 2003 e-mail from David Bowlby; and

 6             (4)    November 17, 2003 e-mail from Mark Wolfe to David Bowlby.

 7             On August 31, 2005, Safeway submitted three (3) additional e-mails:

 8             (1)    November 24, 2003 e-mail from Mark Wolfe to David Bowlby;

 9             (2)    November 25, 2003 e-mail from Mark Wolfe to David Bowlby; and

10             (3)    March 10, 2004 e-mail from M ark Wolfe to David Bowlby.

11                                                DISCUSSION

12             The attorney-client privilege protects from disclosure, confidential communications

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     between a client and an attorney. Fisher v. United States, 425 U.S. 391, 403, 96 S.Ct. 1569,
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     1577 (1976); Clarke v. American Commerce Nat’l Bank, 974 F.2d 127, 129; United States v.
15
     Hirsch, 803 F.2d 493, 496 (9 th Cir. 1986). The privilege’s central concern is "to encourage full
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     and frank communication between attorneys and their clients and thereby promote broader
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18   public interests in the observance of law and administration of justice." Zolin, 491 U.S. at 562,

19   109 S.Ct. at 2625 (quoting Upjohn Co. v. United States, 449 U.S. 383, 389, 101 S.Ct. 677

20   (1981).
21
               After review of the documents, the Court denies Wal-Mart’s motion to compel
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     production. The documents reflect communications between David Bowlby of Safeway and
23
     Mark Wolfe, who represented and gave legal advice to an organization composed of grocers,
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25   including Safeway. See Declaration of Mark Wolfe in Opposition to Wal Mart’s Motion to

26   Compel, ¶ 2. Mr. Wolfe states that he confidentially communicated with David Bowlby of

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 1   Safeway as a liaison for the group with regard to his work. Id. Review of the documents

 2
     confirms Safeway’s description of the documents on the privilege log. The Court therefore
 3
     finds that the documents are privileged communications and need not be produced.
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             IT IS SO ORDERED.
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 7       Dated:     September 15, 2005                           /s/ Dennis L. Beck
     3b142a                                         UNITED STATES MAGISTRATE JUDGE
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